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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

           Plaintiff,                                 Crim. Action No. 21-377 (BAH)

 v.

 ANTHONY WILLIAMS,

                   Defendant.
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                            JOINT MOTION TO ADJOURN DATES

       Defendant Anthony Robert Williams, and joined by United States of America, by and

through its attorney, ask this Court to adjourn by 30 days the deadline for supplementary sentencing

materials on December 13, 2024, and the resentencing on December 20, 2024. There are two

reasons for the requested adjournment. First, the government expects to file an additional charge

against Mr. Williams by the middle of next week. Second, Mr. Williams’s mother, who he lived

with and helped care for, died at the end of November 2024, and he is attending an out-of-town

“celebration of life” for his mother this weekend in the area of Chicago, Illinois, expecting to return

December 17, 2024. Mr. Williams and counsel prefer to avoid him traveling to D.C. to attend the

resentencing so quickly after his mother’s funeral.

Respectfully Submitted,

/s/ Benton C. Martin                                  /s/ Isia Jasiewicz
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